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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

 A.O.A., et al.,                                 )
                                                 )
                   Plaintiffs,                   )
                                                 )
 v.                                              )        Case No. 4:11CV44 CDP
                                                 )        (CONSOLIDATED)
 DOE RUN RESOURCES CORPORATION,                  )
 et al.,                                         )
                                                 )
                   Defendants.                   )

                   DEFENDANTS’ MOTION TO DISMISS
 PLAINTIFFS FOR FAILURE TO PROSECUTE BY PRODUCING PROFILE SHEETS

       COME NOW, Defendants by and through undersigned counsel and pursuant to Federal

Rule of Civil Procedure 41(b), and hereby move to dismiss with prejudice the 119 Plaintiffs who

have failed to follow Court orders and prosecute their cases by producing Plaintiff Profile Sheets.

In support of this Motion, Defendants file herewith a Memorandum of Law.

       Respectfully submitted this 11th day of August, 2023.




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